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Attorneys for RICHMOND AMERICAN HOMES OF NEVADA, INC.

UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA

DANIEL JAMES HARTMANN AND
STACY RAE GARWOOD, individually
and on behalf of others similarly
situated; LISA AND BARBARA LAW,
individually and on behalf of others
similarly situated; JANA ANDERSON,
individually and on behalf of others
similarly situated; MICHAEL MAHANY
AND RAINA MUSSER-MAHANY,
individually and on behalf of others
similarly situated; WENDY
STOCKETT, individually and on behalf
of other similarly situated, and
CHRISTIAN LeCATES, individually
and on behalf of others similarly
situated,

Plaintiffs,
Vv.

UPONOR, INC., an Illinois corporation;
UPONOR CORPORATION, a Finnish
corporation; UPONOR GROUP, a
business of unknown form and origin;
RCR PLUMBING AND MECHANICAL,
INC., a California corporation;
INTERSTATE PLUMBING &
CONDITIONING, LLC, a Nevada
limited liability company; UNITED
PLUMBING, LLC, a Nevada limited
liability company; FERGUSON
ENTERPRISES, INC., a Virginia
corporation, HUGHES WATER &
SEWER, L.P., a Florida limited
partnership and successor by merger

LEGAL:05562-0569/2543091.1

 

CASE NO. 2:08-CV-01223-RCJ-GWF

RICHMOND AMERICAN HOMES OF
NEVADA, INC.'S MOTION FOR
CLARIFICATION AND OBJECTION
TO CONSOLIDATION ORDER ON AN
ORDER SHORTENING TIME

CONSOLIDATED WITH:

Case Nos.; 2:11-cv-00425-LDG-CWH;
2.11-cv-00783-JCM-CWH:;
4-cv-00812-RCJ-CWH;
{-cv-00830-RCJ-CWH;
1-cv-01498-RCJ-GWEF;
1-cv-01875-KJD-PAL:
2-cv-00206-JCM-PAL;
2-cV-00207-RCJ-CWH:
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RICHMOND AMERICAN HOMES OF NEVADA, INC.' S MOTION FOR CLARIFICATION AND
OBJECTION TC CONSOLIDATION ORDER ON AN ORDER SHORTENING TIME

2:08-CV-01223-RCJ-GWE

 
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Case 2:08-cv-01223-NDF-MLC Document 702 Filed 02/04/13 Page 2 of 2

to STANDARD WHOLESALE SUPPLY
COMPANY, a dissolved Nevada
corporation; HD SUPPLY
CONSTRUCTION SUPPLY, LIMITED
PARTNERSHIP, a Florida limited
partnership; DOES 1-30, ROE
CORPORATIONS 1-XXX,

Defendants.

 

 

DEFENDANT RICHMOND AMERICAN HOMES OF NEVADA, INC.
("RICHMOND"), by and through its counsel of record, hereby submits the following
Motion for Clarification and Objection to Consolidation Order on an Order
Shortening Time following this Honorable Court's January 11, 2013 hearing and
subsequent Order consolidating various pending actions into the instant matter.
This motion seeks clarification regarding the impact of this Court's previous Order
compelling arbitration in the Seasons Homeowners Association, Inc. v. Richmond
American Homes of Nevada, Inc., No. 2:11-cv-1875 matter. Richmond further
seeks clarification regarding the Court's consolidation order and whether those
homeowners that have previously been compelled to arbitration should have been
consolidated into the instant action.

This Motion is further based on the pleadings and papers on file herein, and

any and all arguments of counsel at the hearing of this matter.

DATED: February 4. 2013 WOOD, SMITH, HENNING & BERMAN LLP

   

 

~y "RAYMOND BABAIAN
Attorjeys for RICHMOND AMERICAN
HOMES OF NEVADA, INC.

LEGAL:05662-0569/2543091.1 -2- 2:08-CV-01223-RCJ-GWF

RICHMOND AMERICAN HOMES OF NEVADA, INC.' S MOTION FOR CLARIFICATION AND
OBJECTION TO CONSOLIDATION ORDER ON AN ORDER SHORTENING TIME

 

 
